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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

 Eric C. Grimm,

             Plaintiff,                      Case No. 17-cv-654

 v.                                          HON. GORDON J. QUIST

 Raw Story Media, Inc., The Washington
 Times, LLC, The Herald Publishing
 Company, LLC, MLive Media Group, f/k/a
 Booth Newspapers, Inc., Newslo, The
 Associated Press, Stephen Kloosterman,
 Kevin Even, Paul Shibley, Brianna Scott,
 David Bossenbroek, Matt J. Roberts,
 David Shafer, Barton Dieters, Gregory C.
 Pittman, Williams/Hughes, PLLC, Douglas
 Hughes, Theodore N. Williams, Jr.,
 Timothy Hicks, William Marietti, Kathy
 Hoogstra, Robert Carter, Raymond
 Kostrzewa, Linnea Kostrzewa, Mark T.
 Boonstra, Neil Mullally, Vicki Broge, and
 the County of Muskegon

        Defendants.
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             REPLY OF DEFENDANTS COUNTY OF MUSKEGON, JUDGE PITTMAN,
                JUDGE HICKS, JUDGE MARIETTI, JUDGE HOOGSTRA, JUDGE
               MULLALY, JUDGE KOSTRZEWA AND PROSECUTOR ROBERTS

                                          TO

                     PLAINTIFF GRIMM’S “ERRATUM” (ECF NO. 60)



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                                             INDEX OF AUTHORITIES

Cases

Chambers v. Nasco, Inc., 501 U.S. 32 (1991) ............................................................. 1

Pucci v. Nineteenth Dist. Court, 598 Fed. Appx. 460 (6th Cir. 2015) .......................... 1

Pucci v. Nineteenth Dist. Court, 628 F.3d 752 (6th Cir. 2010) .................................... 2

Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980) ............................................... 1


Rules

Fed. R. Civ. P. 12(b)(6) ............................................................................................. 2, 4

LR 7.1(d)(3)(A) .............................................................................................................. 1




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                             ARGUMENT IN REPLY TO “ERRATUM”

             An “erratum” is “[a]n error that needs correction.” Black’s Law Dictionary, 582

(8th ed. 2004). What Plaintiff Grimm now submits as his so-called “Erratum” (ECF No.

60, Pg ID 800-806) is not an “erratum.” Manifestly it is a ploy to supplement his response

to the Defendants’ Rule 12 motion, outside this Court’s page limit for motions and briefs.

LR 7.1(d)(3)(A).

             Plaintiff Grimm already played fast and loose with that page limit through the

formatting and pagination of his response to the Defendants’ pending dismissal motion.

(ECF No. 44, Pg ID 447-483). Plaintiff Grimm now wants to supplement his response to

present and argue yet another case, i.e., Pucci v. Nineteenth Dist. Court, 596 Fed.

Appx. 460 (6th Cir. 2015).

             Additional sleight of hand may be observed in the attachments to Plaintiff Grimm’s

“Erratum.” Not only does Grimm attach the unpublished federal Pucci decision that his

“Erratum” discusses (ECF No. 60-1, Pg ID 807-833), but also an unpublished Michigan

Court of Appeals decision involving the Pucci parties (ECF No. 60-2, Pg ID 834-841).

             The Defendants assert, first, that Plaintiff Grimm’s “Erratum” and appended cases

should be rejected under this Court’s inherent power to sanction those who act in bad

faith to fool the Court. Chambers v. Nasco, Inc., 501 U.S. 32, 44-5 (1991), Roadway




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Express, Inc. v. Piper, 447 U.S. 752, 765 (1980). But the cases presented by the

“Erratum” should also be rejected as irrelevant to the questions before the Court.

             These Defendants brought their pending motion under Fed. R. Civ. P. 12(b)(6), on

the basis that Plaintiff Grimm - - underneath all his hyperbolic rhetoric - - failed to plead

plausible claims upon which relief can be granted. Rather than specifically address the

defects of his pleading, Plaintiff Grimm filed a response that reads more as a political

manifesto for separation of church and state than a brief to address the arguments raised

by the Defendants. Plaintiff Grimm’s “Erratum” follows that pattern. Neither of the Pucci

cases submitted by Plaintiff Grimm address the defects raised against Plaintiff Grimm’s

Complaint. In fact, neither addresses in any manner at all the issues that Plaintiff Grimm

suggests.

             The Pucci cases never discussed the scope of judicial immunity. The Pucci cases

presented a court employee’s wrongful termination claims against a judge and the 19th

District Court as employers. An earlier decision of the Sixth Circuit in Pucci v. Nineteenth

Dist. Court, 628 F.3d 752 (6th Cir. 2010), held that Judge Somers could not claim

sovereign immunity or qualified immunity against Pucci’s claims of First Amendment

retaliation and denial of due process. Judicial immunity was never addressed.

             The Sixth Circuit opinion now presented by Plaintiff Grimm’s “Erratum” never

addressed any type of immunity. The issues raised were:



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                    1.     Whether an email from Pucci’s counsel was a “judicial
                           admission” that a retaliation claim would not be
                           pursued;

                    2.     Whether Pucci was barred from a First Amendment
                           “retaliation” recovery on the basis that her complaints
                           regarding the judge were made as “an employee”
                           rather than as “a citizen” in general;

                    3.     Whether Pucci’s First Amendment “retaliation” claim
                           was barred by the court’s interest in “efficiency;”

                    4.     Whether Somers was denied procedural due process
                           in the context of her termination; and

                    5.     Whether the district court abused its discretion by
                           granting attorney fees to Pucci after trial.

Judicial immunity is never mentioned. Nor did the Court discuss separation of church

and state in any context.

             The subsequent, unpublished state court opinion dealt only with whether

Michigan’s 19th Judicial District Court could be subject to garnishment by Pucci for

purposes of collecting her judgment against Judge Somers. The case discusses the

sovereign immunity of the Court. It has nothing to do with judicial immunity.

             Plaintiff Grimm’s “Erratum” presents nothing of relevance to this Court. Instead, it

simply burdens this Court and the moving Defendants with having to confront manifest

irrelevancies. The “Erratum” and the arguments presented therein should be rejected.




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                  CONCLUSION AND REITERATION OF RELIEF REQUESTED

             Plaintiff Grimm’s evasion of this Court’s page limitations and his presentation of

irrelevant argument and case law should be rejected. The Defendants’ pending motion

for dismissal under Fed. R. Civ. P. 12(b)(6) should be granted for the reasons discussed

in the Defendants’ original motion, brief and reply. (ECF Nos. 23, 23-1 and 55).

                                        Respectfully submitted,

                                        CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.

                                        /s/ Allan C. Vander Laan
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Dated: January 10, 2018




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